                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                   3:04cr252


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
LANDIS RICHARDSON                        )
________________________________________ )




       THIS MATTER is before the Court upon motion of the defendant to transport him to his

mother’s funeral. The motion was filed after business hours on November 16, 2006, in Charlotte,

North Carolina, and the funeral is at an unspecified time on November 18, 2006, in Montgomery,

Alabama. (Motion at ¶ 4).

       The defendant was found guilty of narcotics and firearms offenses following a jury trial

(Doc. No. 72: Jury Verdict) and is awaiting designation to a federal institution to serve an eighty-

one month sentence (Doc. No. 91). The defendant has an extensive criminal history, including

narcotics offenses, probation violations, and failures to appear.

       Upon review of the record, the Court finds the circumstances alleged by the defendant and

the danger he poses to the community are insufficient for this Court to order his transportation to

the funeral, particularly with one day’s notice to plan complex security arrangements.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.




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       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the U.S.

Probation Office.

                                                  Signed: November 17, 2006




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